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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NORTH DAKOTA

USI Insurance Services, LLC,                 )
                                             )
              Plaintiff,                     )       ORDER
                                             )
       vs.                                   )
                                             )
Lesley Bentz, Ashley Farthing Daniel         )
Werner, Jared Fisher, Martin Fisher, and     )
Choice Financial Group,                      )       Case No. 1:18-cv-255
                                             )
              Defendants.                    )


       On September 17, 2020, the parties filed a Joint Stipulation to Amend Scheduling Order.

The court ADOPTS the parties’ stipulation (Doc. No. 163) and ORDERS:

       1.     The parties shall have until January 8, 2021, complete depositions of fact witnesses

              and to file non-dispositive motions.

       2.     Plaintiff shall have until January 12, 2021, to provide the names of expert witnesses

              and complete reports under Rule 26(a)(2).

       3.     Defendants shall have until February 22, 2021, to provide the names of expert

              witnesses and complete reports under Rule 26(a)(2).

       4.     The parties shall have until March 22, 2021, to conduct discovery depositions of

              expert witnesses.

       5.     The parties shall have until April 5, 2021, to file dispositive motions.

       6.     The final pretrial conference set for April 19, 2021 shall be rescheduled for

              September 15, 2021, at 9:00 a.m. by telephone before the magistrate judge. To

              participate in the conference, the parties should dial (877) 810-9415 and enter access


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        code 8992581.

 7.     The jury trial set for May 3, 2021, shall be rescheduled for September 27, 2021,

        2021, 9:00 a.m. in Bismarck Eagle courtroom before Judge Hovland. A ten (10) day

        trial is anticipated.

 IT IS SO ORDERED.

 Dated this 18th day of September, 2020.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court




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